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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF FLORIDA

  LARRY KLAYMAN

                         Plaintiff

                 v.
                                                      Case Number:     0:20-cv-61912
  INFOWARS, LLC, et al

                         Defendants.


    PLAINTIFF LARRY KLAYMAN’S RESPONSE TO NOTICE OF SUPPLEMENTAL
                   AUTHORITY AND MOTION TO STRIKE

          Plaintiff Larry Klayman (“Mr. Klayman”) hereby files the following in response to and

  moves to strike the Infowars Defendants’ Notice of Supplemental Authority (the “Supplement”)

  as entirely irrelevant and meant only to prejudice Mr. Klayman before this Court.

          First and foremost, Mr. Klayman is not representing any client in this instant case, as he

  has filed this case pro se. Thus, any order attorney discipline or suspension is completely

  irrelevant, as Mr. Klayman is ultimately free to file and pursue cases pro se even if he were not

  an attorney.

          Second, the Infowars Defendants bring to this Court’s attention orders of suspension in

  the District of Columbia Court of Appeals (“DCCA”) (Exhibit B) and Pennsylvania (Exhibit C).

  Markedly absent is anything from The Florida Bar. Thus, even if Mr. Klayman were representing

  a client in the matter, which he is not, the Infowars Defendants’ Supplement is still entirely

  irrelevant.

          Third, the DCCA Order is a non-final temporary order of interim suspension, which Mr.

  Klayman is still challenging in any event. Mr. Klayman is also ultimately confident that the

  DCCA will not impose any discipline in the form of a final order and that he will prevail before




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  the DCCA.

         Fourth, it is curious that counsel for the Infowars Defendants is attempting to bring

  disciplinary actions to the Court’s attention, when Mark Randazza has had, to say the least, a

  difficult relationship with the concept of legal ethics. Mr. Randazza pattern and practice of

  engaging in misconduct is so renowned that it was even detailed in an article by the Huffington

  Post. Exhibit 1.

         Accordingly, Mr. Klayman respectfully requests that the Court strike the Infowars

  Defendants’ entirely irrelevant filing.

  Dated: January 26, 2021                                   Respectfully Submitted,


                                                            /s/ Larry Klayman
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                                                            Pro Se



                                   CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on this 26th of January 2021, a true copy of the foregoing

  was filed via ECF and served to all counsel of record though the Court’s ECF system.


                                                                     /s/ Larry Klayman




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